Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
04/28/2022 08:08 AM CDT




                                                               - 94 -
                               Nebraska Supreme Court Advance Sheets
                                        311 Nebraska Reports
                                                    GARRISON v. OTTO
                                                     Cite as 311 Neb. 94



                                        Margaret L. Garrison, appellee,
                                        v. Logan M. Otto II, appellant.
                                                       ___ N.W.2d ___

                                        Filed March 4, 2022.     Nos. S-21-478, S-21-641.

                 1. Protection Orders: Appeal and Error. The grant or denial of a protec-
                    tion order is reviewed de novo on the record. In such de novo review, an
                    appellate court reaches conclusions independent of the factual findings
                    of the trial court. However, where the credible evidence is in conflict
                    on a material issue of fact, the appellate court considers and may give
                    weight to the circumstances that the trial judge heard and observed the
                    witnesses and accepted one version of the facts rather than another.
                 2. Protection Orders. Whether domestic abuse occurred is a threshold
                    issue in determining whether an ex parte protection order should be
                    affirmed.
                 3. ____. Absent abuse as defined by Neb. Rev. Stat. § 42-903 (Cum. Supp.
                    2020), a protection order may not remain in effect.
                 4. ____. The goal of domestic abuse protection orders is to protect victims
                    of domestic abuse from further harm.
                 5. ____. In considering whether to continue an ex parte domestic abuse
                    protection order following a finding that domestic abuse has occurred, a
                    court is not limited to considering only whether the ex parte order was
                    proper, but may also consider a number of factors pertinent to the likeli-
                    hood of future harm.
                 6. ____. Factors in considering whether to continue an ex parte domestic
                    abuse protection order following a finding that domestic abuse has
                    occurred might include, but are not limited to, the remoteness, severity,
                    nature, and frequency of past abuse; past or pending credible threats
                    of harm; the psychological impact of domestic abuse; the potential
                    impact on the parent-child relationship; and the nuances of household
                    relationships.
                 7. Protection Orders: Statutes: Affidavits: Time. The statutory scheme
                    does not impose any limitation on the time during which a victim of
                                      - 95 -
             Nebraska Supreme Court Advance Sheets
                      311 Nebraska Reports
                              GARRISON v. OTTO
                               Cite as 311 Neb. 94
      domestic abuse may file a petition and affidavit seeking a protection
      order subsequent to the abuse.
 8.   Protection Orders. The renewal of a protection order shares the same
      fundamental characteristics of the original protection order.
 9.   ____. The requisite past act of domestic abuse is necessarily found in
      relation to the underlying protection order and is not to be relitigated
      simply because the petitioner seeks a renewal of the order.
10.   Actions: Appeal and Error. Principles of law of the case generally bar
      reconsideration of the same or similar issues at successive stages of the
      same suit or prosecution.
11.   Protection Orders. A protection order upon renewal, just as at its incep-
      tion, is oriented toward the future with the goal to protect victims of
      domestic abuse from further harm.
12.   ____. The court at a hearing on a petition for renewal must reevaluate
      the likelihood of harm over the course of another year in which it would
      be in effect if the petition for renewal is granted.
13.   ____. In determining if a contested renewal of the protection order
      is justified in light of the likelihood of future harm, the court consid-
      ers factors similar to those applicable to the initial contested protec-
      tion order.
14.   ____. In determining if a contested renewal of the protection order is
      justified in light of the likelihood of future harm, the court considers all
      the surrounding circumstances, including the passage of time since the
      abuse that was found in relation to the original order and all the factors
      relating to its severity, nature, frequency, and impact.
15.   ____. The court may consider, in determining whether to renew a pro-
      tection order, whether any new domestic abuse has occurred during the
      period of the original protection order and its severity, nature, frequency,
      and impact.
16.   ____. In determining the likelihood of future harm based on past domes-
      tic abuse, as well as on any abuse during the duration of the original
      protection order, the court may consider evidence of the relationship
      of the parties as demonstrated by their behavior both before and since
      the issuance of the original protection order and by their testimony at
      the hearing.

   Appeals from the District Court for Lancaster County: Ryan
S. Post, Judge. Appeal in No. S-21-478 dismissed. Judgment in
No. S-21-641 affirmed.
  Edith T. Peebles, of Brodkey, Cuddigan, Peebles, Belmont &amp;
Line, L.L.P., for appellant.
                              - 96 -
         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       GARRISON v. OTTO
                        Cite as 311 Neb. 94
  John W. Ballew, Jr., of Ballew Hazen, P.C., L.L.O., for
appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
  Freudenberg, J.
                     I. INTRODUCTION
   The respondent appeals the renewal of a domestic abuse
protection order. He argues the evidence in this case was
insufficient to support the court’s finding that renewal of the
protection order was necessary to prevent future harm, when
there was no further abuse or violation of the protection order.
We affirm.
                     II. BACKGROUND
   This case involves the renewal, under Neb. Rev. Stat.
§ 42-924(3)(b) (Cum. Supp. 2020), of a domestic abuse protec-
tion order issued on March 18, 2020. The order was against
Logan M. Otto II. The protected party was his former spouse,
Margaret L. Garrison.
                    1. Underlying Order
   The underlying domestic abuse protection order in this case
was originally issued ex parte, upon a finding that Garrison had
stated facts showing Otto attempted to cause, or intentionally,
knowingly, or recklessly caused, bodily injury to Garrison; or
that he had, by means of credible threat, placed Garrison in
fear of bodily injury. Further, the court found it reasonably
appeared from the specific facts included in the affidavit that
Garrison would be in immediate danger of abuse before the
matter could be heard on notice.
   The petition and affidavit had described as the most recent
and severe incident of abuse Otto’s actions occurring on
February 26, 2020, in a parking lot after a court hearing involv-
ing a dispute between Garrison and Otto. Garrison averred that
Otto was exiting the lot in his vehicle, when he sped up and
                                   - 97 -
            Nebraska Supreme Court Advance Sheets
                     311 Nebraska Reports
                            GARRISON v. OTTO
                             Cite as 311 Neb. 94
swerved toward Garrison, who was walking with her husband
to her car. Garrison described that she was almost hit, but that
her husband grabbed her arm to remove her from the vehicle’s
path. Attached photographs showed skid marks in the lot. The
petition and affidavit also described, over the course of the
preceding 7 years, other acts of violence, prior assault charges
against Otto, and other protection orders against Otto.
   Otto contested the ex parte order, and a hearing was held in
which Otto claimed, among other things, that he did not know
Garrison and her husband were in the lot on February 26,
2020. Otto testified he had been driving slowly while on his
cell phone and swerved away when he noticed two pedestri-
ans, who ended up being Garrison and her husband. Otto also
testified that the tire tracks in the photograph did not resemble
tracks his tires could make.
   The district court found from the credible evidence adduced
that the March 18, 2020, order should be affirmed.
   Otto appealed the district court’s decision affirming the
March 18, 2020, ex parte domestic abuse protection order,
arguing there was insufficient evidence of abuse or likelihood
of future harm. In a two-paragraph opinion, we affirmed the
district court’s decision. 1
                           2. Renewal
                            (a) Petition
   On March 17, 2021, Garrison filed a petition and affidavit
to renew the domestic abuse and protection order. Garrison
averred that she and Otto have had ongoing proceedings in
district court since 2009, stemming from their divorce. She
generally asserted there was a long history of abuse by Otto
of herself, their children, and her husband, as well as a viola-
tion by Otto of another harassment protection order in the past.
Garrison averred that she feared for the safety of everyone in
her household.
1
    Garrison v. Otto, 308 Neb. 372, 953 N.W.2d 568 (2021).
                               - 98 -
          Nebraska Supreme Court Advance Sheets
                   311 Nebraska Reports
                        GARRISON v. OTTO
                         Cite as 311 Neb. 94
                        (b) Ex Parte Order
   The court issued an ex parte renewal of the ex parte domes-
tic protection order, effective for 1 year from March 19, 2021.
In so ordering, the court found that Garrison had stated facts
showing Otto had attempted to cause, or intentionally, know-
ingly, or recklessly had caused, bodily injury to Garrison and
by means of credible threat had placed her in fear of bodily
injury. Further, the court found it reasonably appeared from the
specific facts included in the affidavit that Garrison would be
in immediate danger of abuse before the matter could be heard
on notice.

                            (c) Hearing
   Otto contested the ex parte renewal and requested a hearing.
At the hearing, Garrison again gave her version of the incident
in the parking lot, which occurred directly after a court hear-
ing in which the court ruled Otto would not have his parenting
time “renewed.” Garrison testified that she still felt her life was
in danger from Otto.
   Otto also testified at the hearing. He again denied trying to
hit or scare Garrison with his vehicle. He presented pictures
of the tires on the vehicle he was driving and asserted that the
tracks in the photograph that had been submitted were not from
his vehicle. He acknowledged he had presented this same evi-
dence at the hearing on the original protection order.
   Otto also generally testified that he had a positive rela-
tionship with his children and has historically tried to avoid
interacting with Garrison. Otto testified that he has had 551
days of parenting time suspended since October 2019, with the
exception of his parenting time with his then 14-year-old son.
During that time of suspended parenting time, he has had only
limited visitation in public places with his other children, dur-
ing which the youngest child misbehaved. Otto testified that
his children’s behavior has deteriorated while his parenting
time has been suspended.
                               - 99 -
          Nebraska Supreme Court Advance Sheets
                   311 Nebraska Reports
                        GARRISON v. OTTO
                         Cite as 311 Neb. 94
  Otto’s wife testified that Otto is very careful to avoid having
any contact with Garrison at public sporting events the children
participate in, which both they and Garrison attend.
                    (d) May 10, 2021, Order
   In an order on May 10, 2021, the court affirmed the ex parte
renewal of the domestic abuse protection order and ordered it
remain in effect.
   The court concluded that a violation of the initial order was
not a prerequisite for a renewal, noting that no such require-
ment is found in the statutes and that it would undermine the
goal of domestic abuse protection orders to protect victims of
domestic abuse from further harm.
   The court also concluded that although the remoteness of the
past abuse is a matter for the court to consider, the occurrence
of additional acts of abuse since the original protection order is
not a legal prerequisite for its renewal.
   Finally, the court concluded that the petitioner for a renewal
of a domestic abuse protection order is not required at the
hearing on renewal to reestablish the truth of all facts sup-
porting the issuance of the initial order. Noting principles of
the ­law-of-the-case doctrine, the court stated that a hearing on
renewal “is not an opportunity to relitigate the initial protection
order.” The petitioner must only establish, by a preponderance
of the evidence, the truth of the facts supporting renewal. Once
that burden is met, explained the court, the burden shifts to
the respondent to show why the protection order should not
be renewed.
   The court took notice of the fact that it had already been
determined that Garrison was a victim of domestic abuse under
Neb. Rev. Stat. § 42-903(1) (Cum. Supp. 2020). The court
found that Garrison had established by a preponderance of the
evidence the truth of the facts supporting renewal and that Otto
did not show cause as to why the protection order should not
be renewed.
   More specifically, the court noted that the affidavit and
Garrison’s testimony at the hearing provided the reasons she
                             - 100 -
         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       GARRISON v. OTTO
                        Cite as 311 Neb. 94
sought renewal, additional events since the initial protection
order was issued, that there have been no material changes in
relevant circumstances, she remains fearful of Otto and feels
her life is still in danger, and she was not requesting a modifi-
cation of the prior order. The court found Garrison’s testimony
at the hearing was credible and showed she has a present fear
of future harm due to the history and pattern of such abuse
to date.
   The court noted that Otto testified to numerous confronta-
tions between Garrison and Otto over the last few years, but
“despite the past conduct leading up to his testimony, future
harm is unlikely and Garrison is trying to alienate him from
his children.” The court generally observed that both parties
took “detours” in their testimony into grievances from many
years before and “squabbled” over matters pending before
the court in other proceedings. The court stated that these
detours showed that “the relevant circumstances since entry of
the initial protection order certainly have not improved.” The
court stated that it had considered the factors pertinent to the
likelihood of future harm and that Otto had not met his bur-
den of proof as to why the protection order should not remain
in effect.
   The court summarized that Garrison had established by a
preponderance of the evidence that she was a victim of domes-
tic abuse as defined by § 42-903, that there has been no mate-
rial change in relevant circumstances since entry of the initial
protection order, that Garrison remains in fear for her safety
now and in the future, and that renewal of the protection order
is needed to prevent future harm.

                  (e) Terminating Motion and
                       Notices of Appeal
   On May 20, 2021, Otto filed a motion for a new trial or to
alter or amend. Before the court ruled on the motion, however,
Otto filed a notice of appeal on June 9, 2021. That appeal was
docketed as case No. A-21-478.
                                   - 101 -
            Nebraska Supreme Court Advance Sheets
                     311 Nebraska Reports
                            GARRISON v. OTTO
                             Cite as 311 Neb. 94
   The district court found that despite Otto’s notice of appeal,
pursuant to Neb. Rev. Stat. § 25-1912(3) (Cum. Supp. 2020), it
had jurisdiction to rule on the motion for new trial or to alter
or amend. The court then denied the motion for new trial or to
alter or amend.
   Otto filed another notice of appeal on August 4, 2021, dock-
eted as case No. A-21-641. The Court of Appeals consolidated
the two appeals, and we moved them to our docket.
               III. ASSIGNMENT OF ERROR
  Otto assigns that the trial court erred in affirming the ex
parte renewal of the domestic abuse protection order.
                 IV. STANDARD OF REVIEW
   [1] A protection order pursuant to § 42-924 is analogous to
an injunction. Thus, the grant or denial of a protection order
is reviewed de novo on the record. In such de novo review, an
appellate court reaches conclusions independent of the factual
findings of the trial court. However, where the credible evi-
dence is in conflict on a material issue of fact, the appellate
court considers and may give weight to the circumstances that
the trial judge heard and observed the witnesses and accepted
one version of the facts rather than another. 2
                       V. JURISDICTION
   As a threshold jurisdictional matter, we briefly address
which of these two consolidated appeals, derived from two
separate notices of appeal but purporting to appeal from the
same underlying order of renewal of the protection order, is
properly before us.
   Section 25-1912(3) provides in relevant part that the running
of the time for filing a notice of appeal shall be terminated
as to all parties by a timely motion for a new trial or motion
to alter or amend a judgment. It provides further, “When any
2
    Robert M. on behalf of Bella O. v. Danielle O., 303 Neb. 268, 928 N.W.2d
    407 (2019).
                              - 102 -
            Nebraska Supreme Court Advance Sheets
                     311 Nebraska Reports
                        GARRISON v. OTTO
                         Cite as 311 Neb. 94
motion terminating the time for filing a notice of appeal is
timely filed by any party, a notice of appeal filed before the
court announces its decision upon the terminating motion shall
have no effect, whether filed before or after the timely filing
of the terminating motion.” 3 Instead, “A new notice of appeal
shall be filed within the prescribed time after the entry of the
order ruling on the motion.” 4
   The first notice of appeal, resulting in what is presently
docketed as case No. S-21-478, was premature. It was filed
after the terminating motion for new trial or to alter or amend
and before the court announced its decision on that motion.
Pursuant to § 25-1912(3), it had no effect. As such, case
No. S-21-478 is dismissed for lack of jurisdiction.
   The notice of appeal resulting in what is presently docketed
as S-21-641 was timely filed. Our opinion herein addresses the
merits of that appeal.
                         VI. ANALYSIS
   Otto’s argument on appeal is that the evidence was insuf-
ficient to support the district court’s determination that renewal
of the protection order was justified by the likelihood of future
harm. Both the underlying protection order and its renewal
were issued as ex parte orders that were affirmed after show
cause hearings in which both parties had the opportunity to
present evidence and make arguments. Otto does not attack the
renewal order on procedural grounds, and we express no opin-
ion on the procedure followed here. In arguing that the court
should not have renewed the protection order, Otto claims the
incident on February 26, 2020, was a simple case of distracted
driving. He also points out that he did not violate the protection
order or commit any acts of abuse since the protection order
was issued. This is our first occasion to address what findings
are necessary to support the renewal of a domestic abuse pro-
tection order.
3
    § 25-1912(3).
4
    Id.
                                      - 103 -
              Nebraska Supreme Court Advance Sheets
                       311 Nebraska Reports
                               GARRISON v. OTTO
                                Cite as 311 Neb. 94
   Under the Protection from Domestic Abuse Act, 5 “[a]ny
victim of domestic abuse” may seek a domestic abuse protec-
tion order. 6 Subsection (1)(b) of § 42-924 provides that the
“petition for a protection order shall state the events and dates
or approximate dates of acts constituting the alleged domes-
tic abuse, including the most recent and most severe incident
or incidents.”
   [2,3] In the context of a court’s deciding whether to affirm
or rescind the initial ex parte protection order, we have held
that whether domestic abuse occurred is a threshold issue, and
absent abuse as defined by § 42-903, a protection order may
not remain in effect. 7 “Abuse” is statutorily defined as the
occurrence of one or more of the following acts between family
or household members: (1) attempting to cause or intentionally
and knowingly causing bodily injury with or without a dan-
gerous instrument; 8 (2) placing, by means of credible threat,
another person in fear of bodily injury, 9 or (3) engaging in
sexual contact or sexual penetration without consent as defined
in Neb. Rev. Stat. § 28-318 (Cum. Supp. 2020). 10 Family or
household members includes former spouses. 11
   [4] We have also held, in the context of a court’s decision
to affirm or rescind an initial ex parte protection order, that a
finding that domestic abuse has occurred does not end a court’s
inquiry. 12 In Maria A. on behalf of Leslie G. v. Oscar G., 13
 5
     Neb. Rev. Stat. § 42-901 et seq. (Reissue 2016 &amp; Cum. Supp. 2020).
 6
     § 42-924.
 7
     See Robert M. on behalf of Bella O. v. Danielle O., supra note 2. See, also,
     § 42-924.
 8
     § 42-903(1)(a).
 9
     § 42-903(1)(b).
10
     § 42-903(1)(c).
11
     § 42-903(3).
12
     See Maria A. on behalf of Leslie G. v. Oscar G., 301 Neb. 673, 919
     N.W.2d 841 (2018).
13
     See id.                                    - 104 -
             Nebraska Supreme Court Advance Sheets
                      311 Nebraska Reports
                             GARRISON v. OTTO
                              Cite as 311 Neb. 94
we explained that the goal of domestic abuse protection orders
is to protect victims of domestic abuse from further harm.
Thus, the court must conduct a wider inquiry that weighs the
likelihood of future harm to the petitioner in light of all the
surrounding circumstances. 14 We noted that we have repeatedly
analogized domestic abuse protection orders to injunctions,
which sound in equity. 15 And injunctions are not meant to pun-
ish past actions but to prevent future mischief. 16 On a consid-
eration of all the circumstances of each case, the court, before
issuing an injunction, weighs the burdens the order will inflict
against its benefits. 17
   [5-7] We accordingly held that in considering whether to
continue an ex parte domestic abuse protection order following
a finding that domestic abuse has occurred, a court is not lim-
ited to considering only whether the ex parte order was proper,
but may also consider a number of factors pertinent to the like-
lihood of future harm. 18 Those factors might include, but are
not limited to, the remoteness, severity, nature, and frequency
of past abuse; past or pending credible threats of harm; the
psychological impact of domestic abuse; the potential impact
on the parent-child relationship; and the nuances of household
relationships. 19 With respect to the factor of remoteness, we
have observed that the statutory scheme does not impose any
limitation on the time during which a victim of domestic abuse
may file a petition and affidavit seeking a protection order after
the abuse. 20
14
     See id.15
     See id.16
     Id.17
     See id.18
     Id.19
     Id.20
     See id. See, also, Sarah K. v. Jonathan K., 23 Neb. App. 471, 873 N.W.2d
     428 (2015).
                                   - 105 -
                Nebraska Supreme Court Advance Sheets
                         311 Nebraska Reports
                             GARRISON v. OTTO
                              Cite as 311 Neb. 94
   Under § 42-924(3), the protection order is generally effec-
tive for a period of 1 year, “unless dismissed or modified by
the court prior to such date.” 21 But, under § 42-924(3)(b), any
victim of domestic abuse may, within 45 days before expira-
tion, file a petition and affidavit to renew a protection order.
Section 42-924(3)(b)(ii) indicates that the petition for renewal
shall state that “there has been no material change in relevant
circumstances since entry of the order” and set forth “the rea-
son for the requested renewal.” The renewed protection order
is effective for 1 year. 22
   [8] Thus, as opposed to the underlying petition and affida-
vit for the underlying order, in which petitioner “shall state
the events and dates or approximate dates of acts constituting
the alleged domestic abuse,” 23 the petition and affidavit for
renewal must state “there has been no material change in rele­
vant circumstances since entry of the order” and “the reason
for the requested renewal.” 24 The Protection from Domestic
Abuse Act does not otherwise elaborate on what the dis-
trict court must find in order to renew the protection order.
However, the renewed protection order necessarily shares the
same fundamental characteristics of the original protection
order. The renewed protection order must, therefore, be sup-
ported by the same statutory and equitable considerations as
an original order.
   [9,10] As “no material change in relevant circumstances”
suggests, the requisite past act of domestic abuse is necessar-
ily found in relation to the underlying protection order and
is not to be relitigated simply because the petitioner seeks a
renewal of the order. Principles of law of the case generally
bar reconsideration of the same or similar issues at successive
21
     §   42-925(5).
22
     §   42-924(3)(iii).
23
     §   42-924(1)(b).
24
     §   42-924(3)(b)(ii).
                                      - 106 -
               Nebraska Supreme Court Advance Sheets
                        311 Nebraska Reports
                                GARRISON v. OTTO
                                 Cite as 311 Neb. 94
stages of the same suit or prosecution. 25 There is nothing in the
statutory scheme suggesting that a new act of abuse is a pre-
requisite for renewal of a domestic abuse protection order or
that a petition for renewal gives the respondent an opportunity
to relitigate the prior finding of abuse that was foundational to
the underlying protection order.
   On the other hand, the statutory scheme can be read to sug-
gest that an evidentiary hearing on the petition for renewal
should be held unless the respondent fails to appear or indicates
he or she does not contest the renewal. Section 42-924(3)(b)
states that the protection order “may be renewed on the basis of
the petitioner’s affidavit” when the petitioner seeks no modifi-
cation of the order and either (1) the respondent has been prop-
erly served with notice of the petition for renewal and notice of
hearing and fails to appear at the hearing or (2) the respondent
indicates that he or she does not contest the renewal. The stat-
ute is silent as to the standard governing renewal if an eviden-
tiary hearing is held. 26
   [11,12] The purpose of that hearing is to receive evidence
so that the court may reweigh the burdens the order will inflict
against its benefits in light of all the relevant circumstances,
including what has or has not changed since its issuance.
A protection order upon renewal, just as at its inception, is
oriented toward the future with the goal to protect victims of
domestic abuse from further harm. 27 Here, the district court
applied the standard from Maria A. on behalf of Leslie G. and
reevaluated the likelihood of harm over the course of another
year in which it would be in effect if the petition for renewal
is granted. 28 Because the question of the likelihood of future
harm and the relative equities of the case pertain to a different
25
     See   Tierney v. Tierney, 309 Neb. 310, 959 N.W.2d 556 (2021).
26
     See   § 42-924.
27
     See   Maria A. on behalf of Leslie G. v. Oscar G., supra note 12.
28
     See   id.
                              - 107 -
         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                        GARRISON v. OTTO
                         Cite as 311 Neb. 94
effective period of time, the court’s prior determinations of
these matters were not law of the case.
   [13-16] In determining if a contested renewal of the pro-
tection order was justified in light of the likelihood of future
harm, the court here considered factors similar to those appli-
cable to the initial contested protection order. Relevant factors
included, but were not limited to, the passage of time since the
abuse that was found in relation to the original order and all the
factors relating to the severity, nature, frequency, and impact of
abuse. The court also considered any violations of the protec-
tion order and any new domestic abuse occurring during the
period of the original protection order and the severity, nature,
frequency, and impact of any violation of the protection order
or additional abuse. Further, in determining the likelihood of
future harm, the court considered evidence of the relationship
of the parties as demonstrated by their behavior both before
and since the issuance of the protection order and by their tes-
timony at the hearing.
   Specifically, the district court correctly recognized as law of
the case the abuse that supported the original protection order.
In Otto’s prior appeal to this court from the initial order, he
principally contested the court’s finding of abuse by claiming
that on February 26, 2020, he had simply been driving slowly
while distracted on his cell phone and with no intention of
either hurting or scaring anyone. When we affirmed the lower
court’s order, we implicitly rejected this argument. We will not
revisit it here. The original incident on February 26 was seri-
ous and could have resulted in Garrison’s injury or death. That
fact was properly weighed by the district court in considering
Garrison’s petition for renewal.
   The court also properly considered the evidence of ongoing
legal proceedings between Garrison and Otto stemming from
their divorce, which were similar to the legal proceeding that
spurred Otto’s vehicular attack. The district court, after the
hearing on renewal, found that the continuing conflict between
the parties had not improved during the effective period of
                                    - 108 -
             Nebraska Supreme Court Advance Sheets
                      311 Nebraska Reports
                             GARRISON v. OTTO
                              Cite as 311 Neb. 94
the original protection order. The court observed that Otto
himself testified as to numerous confrontations and accused
Garrison of trying to alienate him from his children, yet at the
same time asserted future harm to be unlikely. The court did
not find this reasoning to be sound. The court instead found
credible Garrison’s averments and testimony that she still
feared for her safety and the safety of everyone in her house-
hold. It found that renewal of the protection order for another
year was necessary to prevent future harm.
   The court did not err in ultimately determining that renewal
was justified. We observe that the cases from other jurisdic-
tions Otto relies on in asserting the evidence was insufficient
to support the 1-year renewal involve facts that are very dif-
ferent from the case at bar. In Vance v. Iowa Dist. Court for
Floyd County, 29 the court reversed a 5-year extension of a
civil no-contact order after noting the order did not involve
domestic abuse, sexual harassment, or any violence, threat of
violence, or the physical safety of any family member, and
there was no evidence the respondent had failed to comply
with it. In S.H. v. D.W., 30 the court held that a 2-year extension
of a 2-year protective order against the former husband was
unwarranted when it had originally been based on a singular
uncontested act of assault occurring when the petitioner col-
lected her belongings from the marital home while divorce
proceedings were pending and the parties had since gone their
separate ways.
   In contrast, the underlying abuse here was serious, it occurred
relatively recently, the parties continue to experience serious
conflict, and the renewal period is for only 1 year. Although
our review of domestic abuse protection orders is de novo, we
give deference to the circumstances that the trial judge heard
and observed the witnesses and accepted one version of the
29
     Vance v. Iowa Dist. Court for Floyd County, 907 N.W.2d 473 (Iowa 2018).
30
     S.H. v. D.W., 139 N.E.3d 214 (Ind. 2020).
                                     - 109 -
             Nebraska Supreme Court Advance Sheets
                      311 Nebraska Reports
                              GARRISON v. OTTO
                               Cite as 311 Neb. 94
facts rather than another. 31 Giving deference to the fact that the
district court heard and observed the witnesses and accepted
one version of the facts rather than another, we find it did not
err in determining that the likelihood of future harm justified a
1-year renewal of the domestic abuse protection order.

                       VI. CONCLUSION
   Based on the foregoing reasons, we affirm the order of the
district court in case No. S-21-641.
                        Appeal in No. S-21-478 dismissed.
                        Judgment in No. S-21-641 affirmed.
31
     See Maria A. on behalf of Leslie G. v. Oscar G., supra note 12.
